         CASE 0:20-cr-00091-ADM Document 6 Filed 06/15/20 Page 1 of 5




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                            Criminal No. 20-91 (ADM)


 UNITED STATES OF AMERICA,

                      Plaintiff,
                                             MOTION TO FIND SPECIFIC
        v.                                   REASONS FOR NO FURTHER
                                             DELAY OF PLEA UNDER CARES
 BRYAN DALLAS CRANDALL,                      ACT SECTION 15002(b)(2)

                      Defendant.



       The United States of America, by and through its attorneys, Erica H. MacDonald,

United States Attorney for the District of Minnesota, and Robert M. Lewis, Assistant

United States Attorney, hereby submits its Motion to Find Specific Reasons for No Further

Delay of Plea under the Coronavirus Aid, Relief, and Economic Security (CARES) Act,

Section 15002(b)(2). Under the CARES Act, the Judicial Conference has found that

emergency conditions related to COVID-19 have materially affected the functioning of the

federal courts. Further, the Chief Judge for the District of Minnesota has found that felony

pleas and sentencings cannot be conducted in-person without seriously jeopardizing public

health and safety. Based on the following, the Court should find that specific reasons exist

such that a felony plea in this matter should proceed by video teleconference as it cannot

be further delayed without serious harm to the interests of justice.
         CASE 0:20-cr-00091-ADM Document 6 Filed 06/15/20 Page 2 of 5




                                   Factual Background

       The defendant was charged by Information on March 27, 2020, with one count of

conspiracy in violation of 18 U.S.C. § 371. [Dkt. No. 1.] The defendant has agreed to

plead guilty to the offense pursuant to a plea agreement. The conduct to which the

defendant will plead guilty occurred between 2013 and 2017. The defendant has been

under investigation since 2017. See Search Warrant, Crim. No. 17-mj-858 KMM.

       On May 28, 2020, counsel for the defendant filed notice of the defendant’s consent

to a video conference for arraignment and on May 29, 2020 counsel confirmed defendant’s

consent to a video conference for a change of plea hearing. Counsel for both the defendant

and the government have also consented to conduct the plea hearing by video

teleconference.

       The defendant, Bryan Crandall, has separately been charged with offenses by the

State of Minnesota, see State v. Crandall, File No. 78-CR-18-20. Mr. Crandall has pled

not guilty to these state charges, and trial is currently scheduled for late July 2020. Trial

in Traverse County, Minnesota is expected to proceed at that time.


                        Teleconferencing Under the CARES Act

       On March 27, 2020, Congress passed the CARES Act, Pub. L. No. 116-136, which

allows federal courts that have been materially affected by the coronavirus outbreak to

authorize the use of video teleconferencing for certain criminal proceedings. Id. § 15002.

Specifically, felony plea and sentencing hearings may be conducted by video

teleconference if (1) “the Judicial Conference of the United States finds that emergency



                                             2
           CASE 0:20-cr-00091-ADM Document 6 Filed 06/15/20 Page 3 of 5




conditions . . . with respect to the Coronavirus Disease 2019 (COVID-19) will materially

affect the functioning of [ ] the federal courts,” (2) the chief judge of a district finds that

felony pleas and sentencings “cannot be conducted in person without seriously

jeopardizing public health and safety,” and (3) “the district judge in a particular case finds

for specific reasons that the plea or sentencing in that case cannot be further delayed

without serious harm to the interests of justice.” Id. § 15002(b)(2).

       On March 29, 2020, the Judicial Conference made the required finding that

emergency conditions due to COVID-19 will materially affect the functioning of the

federal courts. See Judiciary Authorizes Video/Audio Access During COVID-19 Pandemic

(March     31,   2020),   https://www.uscourts.gov/news/2020/03/31/judiciary-authorizes-

videoaudio-access-during-covid-19. On March 30, 2020, the Chief Judge for the District

of Minnesota issued General Order No. 5, In Re: Updated Guidance to Court Operations

Under the Exigent Circumstances Created by COVID-19, in which he found felony pleas

and felony sentencings in the District of Minnesota “cannot be conducted in person without

seriously jeopardizing public health and safety.” The Chief Judge ordered

       [I]f a judge in an individual case finds, for specific reasons, that a felony plea
       or sentencing in that case cannot be further delayed without serious harm to
       the interests of justice, the judge may, with the consent of the defendant after
       consultation with counsel, use video conferencing, or teleconferencing if
       video conferencing is not reasonably available, for the felony plea or
       sentencing in that case.

Id. ¶ 2.
                                          Argument

       Because the Judicial Conference and the Chief Judge of the District of Minnesota

have made the required findings under the CARES Act, and because defendant and counsel


                                               3
         CASE 0:20-cr-00091-ADM Document 6 Filed 06/15/20 Page 4 of 5




have agreed to appear by video teleconference, to proceed with the plea hearing this Court

need only find specific reasons that the plea in this matter cannot be further delayed without

serious harm to the interests of justice.

I.     Specific Reasons Exist Such that Mr. Crandall’s Plea Cannot be Further
       Delayed Without Serious Harm to the Interests of Justice

       One of the considerations for the United States in agreeing to the terms of the

proposed plea agreement is to resolve the guilt of the defendant before needing to indict,

and thus to conserve law enforcement and prosecutorial resources in an appropriate way in

a case where the defendant is willing to acknowledge his guilt. Delaying this matter will

deprive the government of this benefit under the plea agreement.

       Moreover, Mr. Crandall faces trial in the state court this summer. If the Court does

not proceed to accept his plea at this time, the federal investigation will continue and the

defendant will be required to prepare for potential indictment on the current charges and

perhaps additional charges, while simultaneously preparing for his state court trial and

assisting in his defense in that separate proceeding. Failure to proceed with the entry of

his guilty plea at this time may therefore prejudice Mr. Crandall’s ability to assist in his

defense in the state matter.

                                            Conclusion

       For the foregoing reasons, the Court should find that specific reasons exist such that

a felony plea in this matter cannot be further delayed without serious harm to the interests

of justice. Counsel for the government has conferred with counsel for defendant, and both




                                                4
         CASE 0:20-cr-00091-ADM Document 6 Filed 06/15/20 Page 5 of 5




parties agree as to the specific reasons to proceed expeditiously with the plea hearing by

video teleconference, currently scheduled for June 18, 2020, at 1:30 p.m. before this Court.

                                                 Respectfully Submitted,

                                                 ERICA H. MacDONALD
                                                 United States Attorney

                                                 s/ Robert M. Lewis

       Dated: June 15, 2020                 BY: ROBERT M. LEWIS
                                                Assistant U.S. Attorney
                                                Attorney ID No. 249488




                                             5
